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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

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CHERYL L. FIDLER, "‘J“~L U’M\'L' OF FLomuA

TAMPA. FLORIDA
PLAINTIFF

V.

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CAPITAL oNE BANK (USA), N.A. Case N°' _L_ _5

a national association bank,

DEFENDANT.

 

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, Defendant Capital One
Bank (USA), N.A. (Capital One), gives notice of the removal of this action from the
County Court for Pinellas County, Florida, to the United States District Court for the
Middle District of Florida, Tampa Division, stating as follows:

I. INTRODUCTION
1. On May 6, 2018, Plaintiff Cheryl L. Fidler commenced this action by filing

a Complaint in the County Court for Pinellas County, Florida, Case Number 18-003674-
CO. A true and correct copy of all pleadings, process, and orders served on Capital One
is attached to this Notice of Removal as Exhibit 1.

2. In the Complaint, Plaintiff alleges Capital One placed telephone calls and

sent written communications to Plaintiff in attempt to collect a debt. (See generally
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Compl.). Specii`lcally, the Complaint alleges Capital One made “auto-dialed” calls to her
cellular telephone and mailed collection letters after Plaintiff allegedly informed Capital
One she was represented by counsel and asked for calls to be directed to her attorney.
(See Compl. 1111 28-41.) As a result of this purported conduct, Plaintiff brings claims
against Capital One for violations of the Telephone Consumer Protection Act (TCPA), 47
U.S.C. § 227 et seq., and the Florida Consumer Collection Practices Act (FCCPA),
§ 559.55, et seq. (See generally Complaint, Counts 1 & 2).l

3. Capital One was served with a copy of the Complaint on May 21, 2018. As
such, this Notice of Removal is timely under 28 U.S.C. § 1446.

4. This Court has federal question jurisdiction over this matter pursuant to 28
U.S.C. §§ 1331, 1367, 1441 and 1446 because the lawsuit places at issue claims arising
under a law of the United States.

II. FEDERAL JURISDICTION

A. Federal Question Jurisdiction Exists Over This Action.
5. This action may be removed pursuant to 28 U.S.C. § l44l(a) because the

Court has original jurisdiction under 28 U.S.C. § 1331.

6. Specifically, federal district courts have "original jurisdiction of all civil
actions arising under the Constitution, laws, or treatises of the United States." 28 U.S.C. §
1331. Rernoval based on "federal-question jurisdiction is governed by the 'well-pleaded

complaint rule,' which provides that federal jurisdiction exists [] when a federal question

 

' Nothing in this Notice of Removal should be in any way construed as an admission by Capital
One that Plaintiffs claims have any merit whatsoever. Capital One denies that Plaintiff is entitled
to any judgment, damages, relief, and/or award and demands strict proof thereof.

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is presented on the face of the plaintiffs properly pleaded complaint." Caterpillar ]nc. v.
Willz`ams, 482 U.S. 386, 392, 107 S. Ct. 2425, 2429, 96 L. Ed. 2d 318 (1987) (alteration
added).

7. Plaintiff s Complaint purports to assert a claim for violation of the
Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 et seq. (See Compl., Count
2.)

8. The United States Supreme Court has held that TCPA claims give rise to
federal question jurisdiction. See Mz'ms v. Arrow Financial Servz`ces, LLC, 565 U.S. 368,
132 S.Ct. 740, 745, 181 L.E.2d 881 (2012); see also Balthazar v. Central Crea’z't Services,
Inc., 475 Fed. Appx. 716 (l lth Cir. 2012).

9. Because Plaintiff asserts a claim arising under, and for alleged violations
of, federal law, this Court has federal question jurisdiction over these claims pursuant to
28 U.S.C. §§ 1331 and 1441(a).

B. Supplemental Jurisdiction Exists Over Plaintiff’s Remaining Claims.

10. This Court should exercise supplemental jurisdiction over Plaintiff’s
FCCPA claims under Section 559.72 of the Florida Statutes because these claims form
part of the same case or controversy as Plaintiff‘s TCPA claim. (See generally Compl.,
Count 1).

11. The supplemental jurisdiction statute, 28 U.S.C. § 1367(a), provides in
pertinent part as follows:

[I]n any civil action of which the district courts have original jurisdiction,
the district courts shall have supplemental jurisdiction over all other claims

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that are so related to claims in the action within such original jurisdiction
that they form part of the same case or controversy . . . .

28 U.S.C. § 1367(a).

12. Plaintiff’s FCCPA claims are related to the same alleged activity that forms
the basis for Plaintiff’ s TCPA claims, i.e., alleged telephone calls and communications
made in connection with the collection of Plaintiff s account. (Compl., 111[ 28-41; 48-51).
See also 28 U.S.C. § 1367.

13. Capital One expressly consents to this Court's jurisdiction over Plaintiff’s
FCCPA claims.

14. Accordingly, this claim is related to Plaintiff's federal question claim, and
thereby form a part of the same case and controversy pursuant to 28 U.S.C. § 1367(a);
see Speidel v. Arnerican Honda Fin. Corp., No. 2:14-cv-19-FtM-3 8CM, 2014 WL
820703, at *2-*3 (M.D. Fla. Mar. 3, 2014) (exercising supplemental jurisdiction over the
plaintiffs FCCPA claims where they arise from the same alleged debt collection activity
as the plaintiffs TCPA claim).

III. PROCEDURAL REQUIREMENTS

15. No prior application has been made for the relief requested herein.

16. The United States District Court for Middle District of Florida, Tampa
Division, embraces the place where this action was pending in State Court.

17. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

served upon counsel for Plaintiff, and a copy of this Notice of Removal, along with a

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Notice of Filing Notice of Removal, will be filed with the Clerk of the County Court for
Pinellas County, Florida.

18. All prerequisites for removal, as set forth in 28 U.S.C. § 1441, have been
met.

19. True and correct copies of all process, pleadings and orders served on
Capital One are attached as Exhibit 1. See 28 U.S.C. § 1446(a).

20. Pursuant to Local Rule 4.02(b), true and correct copies all process,
pleadings, orders, and other papers or exhibits of every kind, including depositions on file
in the state court are attached hereto as Exhibit 2.

21. Nothing in this Notice of Removal shall be interpreted as substantially
invoking the litigation process or as a waiver or relinquishment of Capital One's right to
assert any defense or affirmative matter, including, but not limited to, the defenses of: (l)
lack of jurisdiction over the person; (2) insufficiency of process; (3) insufficiency of
service of process; (4) improper joinder of claims and/or parties; (5) failure to state a
claim; (6) the mandatory arbitrability of some or all of the claims; (7) failure to join
indispensable parties; or (8) any other pertinent defense available under Fla. R. Civ. P.
1.110 and 1.140 or Fed. R. Civ. P. 8 and 12, any state or federal statute, or otherwise.

22. To the extent remand is sought by Plaintiff or otherwise visited by this
Court, Capital One requests the opportunity to brief the issues and submit additional
arguments and evidence, to be heard at oral argument

WHEREFORE, Capital One prays that this Court take jurisdiction of this action

and issue all necessary orders and process to remove this action from the County Court

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for Pinellas County, Florida, to the United States District Court for the Middle District of

Florida, Tampa Division.

Dated: June 20, 2018

 

 

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CERTIFICATE OF SERVICE

l hereby certify that on this the l(:&\o`f June, 2018, a copy of the foregoing was
filed. Notice of this filing will be sent to the following party/parties through the Court’s

Electronic Case Filing System. A copy has also been sent to counsel by U.S. Mail,
postage prepaid.

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